         Case 2:18-cr-00422-DJH Document 1825 Filed 10/03/23 Page 1 of 4




 1   Jonathan M. Baum (admitted Pro Hac Vice)
     STEPTOE & JOHNSON LLP
 2
     One Market Plaza, Steuart Tower Ste 1070
 3   San Francisco, CA 94105
     Tel: (415) 365-6700
 4
     Fax: (415) 365-6700
 5   jbaum@steptoe.com
 6
     Tahir L. Boykins (admitted Pro Hac Vice)
 7   STEPTOE & JOHNSON LLP
     633 West Fifth Street, Suite 1900
 8
     Los Angeles, CA 90071
 9   Tel: (213) 439-9437
     Fax: (213) 439-9599
10   tboykins@steptoe.com
11
     Attorneys for Movant
12   CARL FERRER
13
14
                                UNITED STATES DISTRICT COURT
15                               FOR THE DISTRICT OF ARIZONA
16
17
     United States of America,                  CASE NO. CR-18-422-PHX-DJH
18
                   Plaintiff,                   MOVANT CARL FERRER’S MOTION
19
                                                FOR A PROTECTIVE ORDER
20          v.
                                                [Filed concurrently herewith Declaration of
21
     Michael Lacey, et al.,                     Jonathan Baum ISO Movant Carl Ferrer’s
22                                              Motion for A Protective Order]
                   Defendants.
23
24
25
26
27
28




                                   1         CASE NO. CR-18-422-PHX-DJH
             MOVANT CARL FERRER’S MOTION FOR A PROTECTIVE ORDER
           Case 2:18-cr-00422-DJH Document 1825 Filed 10/03/23 Page 2 of 4




 1   I.      INTRODUCTION
 2           Carl Ferrer files this motion to assert the attorney-client privilege on his own behalf.
 3   During the course of cross-examination in this case, defense counsel sought to introduce a
 4   privileged memorandum sent from Mr. Ferrer to his prior lawyer, James Grant of Davis
 5   Wright Tremaine LLP, which the defense presumably obtained from Mr. Ferrer’s former
 6   lawyer, who also represented the defendants.1 While the Court properly excluded this
 7   exhibit, the defendants recently filed another motion (Dkt. No. 1822), indicating that they
 8   intend to continue to seek to violate Mr. Ferrer’s attorney-client privilege, his marital
 9   communication privilege, and potentially other privileges.
10           Mr. Ferrer hereby objects to any question or exhibit that intrudes upon privileged
11   communications of any kind.2
12   II.     ARGUMENT
13           A.     Mr. Ferrer Never Waived His Personal Attorney-Client Privilege
14           In April 2018, Mr. Ferrer signed a limited waiver of the attorney-client privilege on
15   behalf of the companies he formally controlled at that time. This waiver is already on the
16   docket in this case, at Dkt. No. 195-3.
17           This waiver states that Mr. Ferrer “waive[s] each of the Companies’ attorney-client
18   privilege[.]” The waiver, however, expressly states that it does not apply “to any aspect of
19   my personal attorney-client relationship with attorneys who have represented me in the
20   past[.]” Id. Mr. Grant played many roles during the history of Backpage, but at the time of
21   this communication, Mr. Grant served as Mr. Ferrer’s personal counsel in the criminal case
22
23   1
       The Defendants appear to have obtained this document in spite of Davis Wright Tremaine
     assuring Judge Logan in 2018 that it would maintain Mr. Ferrer’s attorney-client privilege. See
24   Dkt. No. 10 (“Moving forward, the Court will rely on the representations of HCM, DWT, and
     their respective counsel that the firms will continue to preserve the confidences of Ferrer as a
25   former client, create ethical walls where necessary, refrain from engaging in trial preparation or
26   participating as trial counsel, and only participate in the limited capacity set forth in the
     pleadings, without an order from the Court.”)
27   2
      To the extent necessary, Mr. Ferrer also authorizes the Government to assert the attorney-client
28   privilege on his behalf. See United States v. Martoma, 962 F.Supp.2d 602, 605 (S.D.N.Y. Aug.
     23, 2013) (Government has standing to assert the attorney-client privilege where a witness
     “authorize[s] the Government to assert those rights on his behalf”).


                                    2         CASE NO. CR-18-422-PHX-DJH
              MOVANT CARL FERRER’S MOTION FOR A PROTECTIVE ORDER
            Case 2:18-cr-00422-DJH Document 1825 Filed 10/03/23 Page 3 of 4




 1   filed against him in Sacramento County, California. See Exhibit A (Sacramento Superior
 2   Court Criminal Pleading title page where Grant is identified as “Counsel for Defendants
 3   Carl Ferrer, Michael Lacey and James Larkin.”). The document, therefore, is protected by
 4   the attorney-client privilege.3
 5            B.     Defendants’ Sixth Amendment Rights Do Not Trump Mr. Ferrer’s
 6                   Attorney-Client Privilege
 7            The attorney-client privilege is “one of the oldest recognized privileges for
 8   confidential communications,” Swidler & Berlin v. United States, 524 U.S. 399, 403
 9   (1998). The Ninth Circuit has held that a defendant's right to cross-examine an adverse
10   witness is not unlimited. Hayes v. Ayers, 632 F.3d 500, 518 (9th Cir. 2011). “[T]he
11   Confrontation Clause guarantees an opportunity for effective cross-examination, not cross-
12   examination that is effective in whatever way, and to whatever extent, the defense might
13   wish.” Id. (emphasis in original); (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679
14   (1986).) Here, permitting the defense to violate Mr. Ferrer’s attorney-client privilege is not
15   justified.
16   III.     Conclusion
17            Accordingly, Mr. Ferrer requests that the Court issue a protective order prohibiting
18   Defendants from violating his attorney-client privilege or other applicable privileges.
19
20   Dated: October 3, 2023                        STEPTOE & JOHNSON LLP
21
                                                    By: /s/ Jonathan Baum
22
                                                    Jonathan Baum (admitted Pro Hac Vice)
23                                                  Tahir L. Boykins (admitted Pro Hac Vice)
24
                                                    Attorneys for Movant Carl Ferrer
25
26   3
       The Defendants in this case in 2018 actually sought to block Mr. Ferrer from executing even
27   this limited waiver. Judge Logan agreed with their request at that time, holding that that “the
     materials shared between the parties to the JDA are to be protected from disclosure unless the
28   disclosing party first obtains the written consent of all parties who may be entitled to a claim of
     privilege over the materials.” (Dkt. No. 345, at 4.) Defendants cannot now make the opposite
     argument.


                                     3         CASE NO. CR-18-422-PHX-DJH
               MOVANT CARL FERRER’S MOTION FOR A PROTECTIVE ORDER
         Case 2:18-cr-00422-DJH Document 1825 Filed 10/03/23 Page 4 of 4




 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on October 3, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
 7                                             /s/ Debbie DeRivero
                                               Debbie DeRivero
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                   4         CASE NO. CR-18-422-PHX-DJH
             MOVANT CARL FERRER’S MOTION FOR A PROTECTIVE ORDER
